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                             UNITED STATES DISTRICT COURT
                                  DISTRICT OF MAINE

UNITED STATES OF AMERICA                               )
                                                       )
                               Plaintiff,              )
v.                                                     )       Civ. No. ________________
                                                       )
THREE MILLION SIX HUNDRED                              )
SIXTEEN THOUSAND, EIGHTY-THREE                         )
DOLLARS AND FIFTEEN CENTS                              )
($3,616,083.15) SEIZED FROM ACCOUNT                    )
7001177621 HELD AT COLUMBIA BANK                       )
IN THE NAME OF MED-TECH                                )
RESOURCE, LLC                                          )
                         Defendant in rem.             )

                   VERIFIED COMPLAINT FOR FORFEITURE IN REM

         Plaintiff, United States of America, by and through its attorneys, Donald E. Clark, Acting

United States Attorney for the District of Maine, and Daniel J. Perry, Assistant United States

Attorney, brings this complaint and alleges as follows in accordance with Supplemental Rule

G(2) of the Federal Rules of Civil Procedure:

                                  NATURE OF THE ACTION

         1.     This is a civil action in rem brought to enforce the provisions of: (1) 18 U.S.C. §§

981(a)(1)(C), 2323 and 984. Section 981(a)(1)(C) provides for the civil forfeiture of “[a]ny

property, real or personal, which constitutes or is derived from proceeds traceable to . . . any

offense constituting ‘specified unlawful activity’ (as defined in section 1956(c)(7) of this title),”

including 18 U.S.C. § 1343 (wire fraud) and 18 U.S.C. § 2320 (trafficking in counterfeit goods).

Section 2323 provides for the forfeiture of “[a]ny property constituting or derived from any

proceeds obtained directly or indirectly” as a result of a violation of 18 U.S.C. § 2320

(trafficking in counterfeit goods). Section 984 provides that funds deposited in an account in a

financial institution that are found in the same account as the property involved in the offense
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that is the basis for the forfeiture shall be subject to forfeiture so long as the action is commenced

within one year from the date of the offense.

                                     DEFENDANT IN REM

       2.      The defendant in rem consists of Three Million Six Hundred Sixteen Thousand,

Eighty-Three Dollars and fifteen cents ($3,616.083.15) seized from account 7001177621 held at

Columbia Bank in the name of Med-Tech Resource, LLC (“Med-Tech”) pursuant to a seizure

warrant issued by United States Magistrate Judge John H. Rich III on March 19, 2021. The

defendant in rem was transmitted to the Government by Columbia Bank cashier’s check

#1396582 and received in Portland, Maine on March 23, 2021. Columbia Bank is headquartered

in the State of Washington.

                                 JURISDICTION AND VENUE

       3.      Plaintiff brings this action in rem to forfeit and condemn the defendant in rem.

The Court has in rem jurisdiction over the defendant in rem under 28 U.S.C. § 1355(b). Venue is

proper in this district: (a) pursuant to 28 U.S.C. § 1355(b)(1) because the acts or omissions

giving rise to the forfeiture occurred in this district; and (b) pursuant to 28 U.S.C. § 1395(b)

because the defendant in rem is located in this district. The defendant in rem was deposited into

the Treasury Suspense Account, where it remains.

                                   ALLEGATIONS OF FACT

       4.      Since February 2021, agents with Homeland Security Investigations (HSI), of the

United States Department of Homeland Security, have been investigating allegations of

counterfeit Personal Protective Equipment (PPE) being sold during the COVID-19 pandemic.

       5.      Between December 2020 and January 2021, the State of Maine’s Division of

Procurement Services sent by email two purchase orders (#2020103**423 and #20210115**610)



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to Elevate Marketing Solutions, LLC (“EMS”), located in Raleigh, North Carolina, for the

proposed purchase of 1,804,320 3M brand NIOSH N95 1860 and N95 1860S Particulate

Respirator and Surgical Masks at an average unit cost of about $2.67 each. The total purchase

cost for the masks was $4,814,499.23. According to 3M, the manufacturer's suggested retail

price for these specific masks is $1.27 each. 3M lists this price on their website to assist

customers in identifying inflated prices. The 3M website is:

https://multimedia.3m.com/mws/media/1862179O/get-the-facts-n95-respirator-pricing.pdf

       6.      EMS provided their banking information to the State of Maine in order to receive

payment for the masks by wire. To pay for the masks, and as directed by EMS, Maine sent four

ACH (Automated Clearing House) transfers from Maine’s bank account located at U.S. Bank,

located in Columbus, Ohio to EMS’s bank account (**********8392) at Coastal Federal Credit

Union, located in Raleigh, North Carolina that were received according to EMS bank records as

follows:

                   Date      Wire Amount
                   12/9/2020       $2,285,136.00
                   1/20/2021         $260,803.23
                   1/27/2021       $1,449,840.00
                    2/1/2021         $818,720.00
                   Total           $4,814,499.23

       7.      Between December 23, 2020, and February 5, 2021, the State of Maine received

shipments of 1,804,320 masks that were ordered from EMS and that appeared to the 3M Branded

N95 Protective Masks that were ordered. According to shipping documents, the masks were sent

to Maine by Zhen Qi Trade Co Limited. In early December 2020, a Maine representative

learned in a phone call with EMS owner Neal Westphalen and Michael Modrich from Med-Tech

that Med-Tech was in the supply chain with EMS for the masks. He learned that the supply



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process was as follows: Maine issues a purchase order to EMS; EMS issues a purchase order to

Med-Tech; Med-Tech issues a purchase order to Zhen Qi Trade Co Limited who caused the

masks to be shipped to the State of Maine.

       8.     According to EMS bank records, on the same day EMS received the ACH

transfers from the State of Maine, EMS wired funds to Med-Tech’s Account as follows:

                              Date      Wire Amount
                              12/9/2020  $2,203,514.00
                              1/20/2021    $236,103.23
                              1/27/2021  $1,292,244.00
                               2/1/2021    $809,538.00
                                         $4,541,399.23

       9.     The balance in EMS’s account immediately prior to each wire transfer from

Maine was as follows:


                              Date      Balance
                              12/9/2020     $22,773.71
                              1/20/2021      $6,177.93
                              1/27/2021     $12,226.12
                               2/1/2021   $249,613.42

       10.    As of February 28, 2021, the balance in the EMS account was $10,071.96. On

3/18/2021, a Columbia Bank representative confirmed that the balance of Med-Tech’s account

was about $3.7 million.

       11.     In early February, the State of Maine’s Division of Procurement received

notification from the National Recall Alert Center relating to counterfeit 3M masks. The notice

indicated that 3M N95 masks with certain model and lot numbers were at a high risk of being

counterfeit. The model and lot numbers that were identified by the Alert Center matched those

that the State of Maine procured. Representatives from Maine provided photographs of the

product that they received from EMS to the 3M COVID Fraud Response Team. The 3M
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COVID Fraud Response Team confirmed that the masks that Maine received from EMS were

counterfeit. 3M confirmed that the masks were counterfeit in a letter to the State that provided:

               a. The printing on the respirators does not conform to the known characteristics

                   of printing present on authentic 3M 1860 and 1860S respirators.

               b. The construction of the products examined does not conform to the known

                   characteristics of authentic 3M 1860 respirators (Lots B20018, B20119 only).

               c. The packaging for the respirators contains multiple printing inconsistencies

                   which readily distinguish it from authentic 3M 1860 and 1860S respirator

                   packaging.

               d. The packaging bears counterfeit 3M security labels which do not conform to

                   the known characteristics of authentic 3M security labels.

               e. The respirators bear lot codes that are known to be counterfeit lot codes.

       12.     In addition, HSI-Houston confirmed with 3M that Med-Tech was not an

authorized 3M distributor.

       13.     According to their website (https://www.mtrsuperstore.com) Med-Tech is a

distributer of medical supplies. Michael Modrich is listed on the website under the “About Us”

section as Founder and Chief Executive Officer of the company. According to public criminal

records, in May 2019, Modrich was convicted of wire fraud relating to Med-Tech, a medical

supply company, and was sentenced to 1½ years in prison. Records on file with the Oregon

Secretary of State’s Office include an Amended Annual Report filed by Med-Tech on December

16, 2020. That report identifies the members of the company as Kendyl Modrich, Ramona

Modrich, and Andrew Rogers.




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       14.     An online search of records was conducted in the System for Award

Management, a program within the U.S. General Services Administration. That database reflects

individuals and entities that are or are not authorized to do business with the federal government.

Those records reflect that Med-Tech has been ineligible to conduct business with the federal

Government since September 8, 2020 and will be ineligible until September 8, 2023. In

addition, Michael Modrich is ineligible for the same period.

       15.     HSI-Houston agents are investigating similar allegations involving Med-Tech,

which resulted in a seizure of more than $1.6 million from the Med-Tech bank account at

Columbia Bank.

       16.     On March 11, 2021, EMS emailed a letter to the State of Maine, along with

various attachments, demanding full payment for the remaining balance due for the masks. An

HSI agent provided copies of the letter and attachments to 3M to review. A representative of 3M

provided the following information regarding the documents:

 Document Description                3M Response
 Bill of Lading and Certificate of   The documents are fake. These are the same documents that
 Lot Conformance                     were used in the Houston, Texas case.
 Article Information sheet           This is a real document, but is publicly available and does not
                                     prove authenticity.
 Blamis email confirming that        Blamis is an authorized distributor for 3M Food Safety. They
 Blamis is a 3M Distributor for      do not have access to surgical respirators like the Model
 masks.                              1860/1860S
 Med-Tech Resource Email             The process described is false. 3M does not work with
                                     trading companies. They only work with authorized dealers.
                                     3M does not ship product to Hong Kong and then back to the
                                     U.S.
 SGS Report – an independent         These types of certification reports do not confirm
 inspection report                   authenticity of 3M respirators, as SGS has never been trained
                                     to authenticate 3M respirators.
 Zhen Qi Letter allowing Zhen to     Zhen Qi has no authority or ability to authenticate 3M
 sell and distribute certified 3M    respirators
 masks



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 Document Description              3M Response
 Summary Information 3M            This document is fake and does not reflect 3M practices. 3M
 Direct – reflecting the shipment  does not manufacture respirators in Vancouver, BC. We do
 process and trail.                not ship to Hong Kong and then have them shipped back to
                                   the U.S.
 Certificate of Lot Conformance This is a fake document.
 Authorized Distributor – A letter This is a completely fabricated document. 3M does not have
 from 3M showing that Blamis any such document.
 imported the masks from the 3M
 plant directly.
 EMS Invoice – reflecting prices The list price for 1860/1860S is $1.27. The prices on the
 per mask of $2.90 or $3.25.       EMS Invoice are higher.


                                    APPLICABLE STATUTES

       17.     18 U.S.C. § 2320 makes it a crime to traffic in goods bearing a counterfeit

trademark.

       18.     18 U.S.C. § 1343 makes it a crime to use the wires to execute any scheme to

defraud, or to obtain money or property by means of false or fraudulent pretenses,

representations, or promises.

       19.     18 U.S.C. § 981(a)(1)(C) provides for the civil forfeiture of “[a]ny property, real

or personal, which constitutes or is derived from proceeds traceable to . . . any offense

constituting ‘specified unlawful activity’ (as defined in section 1956(c)(7) of this title).”

       20.     18 U.S.C. § 2320 (trafficking in counterfeit goods) and 18 U.S.C. § 1343 (wire

fraud) are “specified unlawful activit[ies]” under 18 U.S.C. § 1956(c)(7)(A), which incorporates

18 U.S.C. § 1961(1)(racketeering activities).

       21.     18 U.S.C. § 2323 provides for the forfeiture of “[a]ny property constituting or

derived from any proceeds obtained directly or indirectly” as a result of a violation of 18 U.S.C.

§ 2320 (trafficking in counterfeit goods).




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       22.      l8 U.S.C.   $ 984 provides that funds deposited      in an account in a financial

institution that are found in the   s€rme   account as the property involved in the offense that is the

basis for the forfeiture are subject to forfeiture so long as the action is commenced within one

year from the date of the offense.

                                                  CONCLUSION

         WHEREFORE, the plaintiff respectfully asserts that there is probable cause to believe

that the defendant in rem is forfeitable to the United States and asks that all persons who

reasonably appear to be potential claimants with interests in the defendant in rem be cited to

appear herein and answer the complaint; that the defendant in rem be forfeited and condemned

to the United States of America; that upon Final Decree of Forfeiture, the Secretary of the

Treasury dispose of the defendant in rem according to law; and that the plaintiff has such other

and fuither relief as this Court deems proper and just.

Dated at Portland, Maine this I 4h day of May, 2021.

                                                           Respectfully submitted,

                                                                         . CLARK
                                                                           States   A



                                                                   E. Clark
                                                           Acting United States Attorney
                                                           Danial J. Perry
                                                           Assistant U.S. Attorney




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                                        VERIFICATION

       Joel Braillard, being duly sworn, deposes and says that I am a Special Agent with

Homeland Security Investigations, U.S. Department of Homeland Security, and as such have

responsibility for the within action, that I have read the foregoing complaint and know the

contents thereof, and that the same is true to the best of my knowledge, information and belief.

       The sources of my information and the grounds of my belief are official records and files

of the United States and information obtained by me during an investigation of alleged violations

of Title 18, United States Code.




                                                     S      Agent
                                                     U.S. Department of Homeland Security



STATE OF MAINE
Cumberland, ss.

       Subscribed and sworn to before me this l4th day of May, 2021.




                                                     Notary Public
                                                     My commission expires:


                                                              Melissa Bubar
                                                          :":rtary Public, State of Malne
                                                            'r;,.. ,i-:t,ion Expires July 13, 2027




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